     Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 1 of 50




 1                                               THE HONORABLE BRIAN A. TSUCHIDA

 2

 3
                               UNITED STATES DISTRICT COURT
 4                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
 5

 6 CHRISTOPHER J. HADNAGY, an                Case No.: 2:23-cv-01932-BAT
   individual; and SOCIAL-ENGINEER, LLC, a
 7 Pennsylvania limited liability company,   DECLARATION OF KRISTOFER
                                             RIKLIS, ESQ. IN SUPPORT OF
 8              Plaintiffs,                  PLAINTIFFS’ RESPONSE TO
                                             DEFENDANTS’ MOTION TO DISMISS
 9        v.                                 [ECF NO. 37]

10 JEFF MOSS, an individual; DEF CON
   COMMUNICATIONS, INC., a Washington
11 corporation; and DOES 1-10; and ROE
   ENTITIES 1-10, inclusive,
12
                  Defendants.
13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                             1
       Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 2 of 50




 1       DECLARATION OF KRISTOFER RIKLIS, ESQ. IN SUPPORT OF
     PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’ MOTION TO
 2                              DISMISS
 3
            I, Kristofer Riklis, Esq., declare as follows:
 4
            1. I am an attorney duly licensed to practice law in the States of California and
 5
     Nevada and am the Owner of Riklis Law, PLLC, counsel of record to Plaintiffs
 6
     Christopher J. Hadnagy and Social-Engineer, LLC in the above-referenced matter.
 7
            2. This Declaration is made in support of Plaintiffs’ Response in Opposition to
 8
     Defendants’ Motion to Dismiss for Lack of Personal Jurisdiction only.
 9
            3. True and correct printouts of screenshots of the “FAQ” Section of Defendants’
10
     Website at https://defcon.org/html/links/dc-faq/dc-faq.html (accessed October 15, 2023)
11
     are attached hereto as “Exhibit 1.”
12
            4. True and correct printouts of screenshots of the “Forums” Section of
13
     Defendants’ Website at https://forum.defcon.org (accessed October 15, 2023) are attached
14
     hereto as “Exhibit 2.” Clicking on the “Def Con Forums” link on Def Con’s “Home” page
15
     located on Page 12 leads to Page 13, which shows all the forums for Def Con Planning.
16
     Clicking on the “Def Con 31 Planning” link leads to a page with all of the Sub-Forums
17
     dedicated to all of Def Con’s activities.
18
            5. True and correct printouts of screenshots of the “Book a Room” section of
19
     Defendants’ Website at https://defcon.org (accessed October 15, 2023) are attached hereto
20
     as “Exhibit 3.” Clicking on the “Book a Room!” link on the “Home” page located on Page
21
     23 leads to Pages 24-25, which shows all the hospitality room blocks reserved for Def Con
22
     2024. Clicking on the date range shows the “Event Dates” as seen on Page 25. Clicking on
23
     “Search” brings up the various hotel options seen on pages 26-30.
24
            6. True and correct printouts of screenshots of the link to the “Open Calls” and
25
     Style Guide Section of Defendants’ Website at https://defcon.org (accessed October 15,
26
     2023) are attached hereto as “Exhibit 4.” Clicking on the “Open Calls” link on the “Home”
27
     page located on Page 33 leads to Page 34, which shows all the different “Calls” applicable
28

                                                       2
      Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 3 of 50




 1 to the Event. For example, Clicking on the “Call for Exhibitors” provides real-time

 2 information as to the acceptance period of the calls and provides in-depth information on

 3 how to contribute in various methods at the Event on Pages 35-38.

 4          7. True and correct printouts of screenshots of the link to the “Recent News”

 5 Section of Defendants’ Website at https://defcon.org/html/links/dc-news.html (accessed

 6 October 15, 2023) are attached hereto as “Exhibit 5.”

 7          8. True and correct printouts of screenshots of the link to the “Get Involved”

 8 Section of Defendants’ Website at https://defcon.org/html/links/get-involved.html

 9 (accessed October 15, 2023) are attached hereto as “Exhibit 6.”

10          9. Each page of Defendants’ website at www.defcon.org bear a copyright notation

11 of either “© 1992-2023 Def Con Communications, Inc. All Rights Reserved” or “(r) DEF

12 CON Communications, Inc. and each screenshot exhibits the related URL. These are

13 included on the last page of the exhibits.

14

15 DATED: February 12, 2024

16

17
                                                            /s/ Kristofer Riklis
18                                                   Kristofer Riklis
19

20

21

22

23

24

25

26
27

28

                                                      3
     Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 4 of 50




 1                               INDEX OF EXHIBITS

 2

 3   Exhibit                      Title                       Page Numbers
 4      1             Def Con Website: FAQ Section               01-10
 5      2            Def Con Website: Forums Section             11-20
 6      3           Def Con Website: Hotel Room Block            21-31
 7      4         Def Con Website: Open Calls and Guide          32-39
 8      5          Def Con Website: Def Con Cancelled            40-42
 9      6             Def Con Website: Get Involved              43-45
10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26
27

28

                                             1
      Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 5 of 50




 1
                                     CERTIFICATE OF SERVICE
 2
            The undersigned certifies under the penalty of perjury according to the laws of the United
 3
   States and the State of Washington that on this date I caused to be served in the manner noted below
 4 a copy of this document entitled DECLARATION OF KRISTOFER RIKLIS, ESQ. IN
   SUPPORT OF PLAINTIFFS’ RESPONSE IN OPPOSITION TO DEFENDANTS’
 5 MOTION TO DISMISS on the following individuals:

 6 David Perez, WSBA #43959

 7 Matthew J. Mertens (Pro Hac Vice)
   Lauren A. Trambley (Pro Hac Vice)
 8 Perkins Coie LLP
   1201 Third Avenue, Suite 4900
 9 Seattle, Washington 98101
   dperez@perkinscoie.com
10 mmertens@perkinscoie.com

11 ltrambley@perkinscoie.com

12 [ ] Via USPS
   [X] Via Electronic Mail
13 [X] Via Electronic Filing (CM/ECF)

14 Robert J. Cassity
   Erica C. Medley
15
   Holland & Hart LLP
16 9555 Hillwood Drive, 2nd Floor

17 Las Vegas, NV 89134
   bcassity@hollandhart.com
18 ecmedley@hollandhart.com

19
   [ ] Via USPS
20 [X] Via Electronic Mail
   [X] Via Electronic Filing (CM/ECF)
21
         DATED this 15th day of February, 2024 at Seattle, Washington.
22

23                                                       ____________ ____________
                                                         Mark R. Conrad, Attorney
24

25

26
27

28

                                                     1
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 6 of 50




                       Exhibit 1



    Def Con Website: FAQ Section




                                                                   Page 01
               Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 7 of 50




                       ] ^©JnWsT/defcon^rg/html/li^s/dc^aq/dc^aqjTtm^




How much is admission DEF CON, and do you take credit

cards?

The price for DEF CON 31 is $440 USD Cash at the Door. We do this for a number of reasons. Paying in

cash protects your privacy and we can’t be forced to hand over records we don’t collect.




                                                                                                       Page 02
                                                                                                       Page 02
              Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 8 of 50




                       (@ https://defcon.org/html/links/dc-faq/dc-faq.html




How many people typically attend DEF CON?

There have been roughly 25-28k attendees in the last few (pre-COVID) years of DEF CON. DEF CON 27

had a record showing with approximately 30,000.




                                                                                                Page
                                                                                                Page 03
                                                                                                     03
                          Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 9 of 50




                             ®c                                         s




I need a letter of invite for my visa application, how do I get

that?

In most cases, DEF CON can send a signed letter of invite, usually within a few short business days once

we have all the info. If you also require verification of housing, we can put you in touch with someone to

help you get your hotel stay organized, let us know if you need that.



Along with your request, please email us the following to info(at)defcon(.)org



Name as is on passport:

Passport number:

Country of issue:

Date of issue:

Date of expiration:

Country of origin:




                                                                                                             Page 04
                                                                                                             Page 04
                Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 10 of 50



Show the next page L
                               @(©         https://defcon.org/html/links/dc-faq/dc-faq.html




 How did DEF CON start?

 Originally started in 1993, it was a meant to be a party for member of "Platinum Net", a Fido protocol

 based hacking network out of Canada. As the main U.S. hub I was helping the Platinum Net organizer (I

 forget his name) plan a closing party for all the member BBS systems and their users. He was going to

 shut down the network when his dad took a new job and had to move away. We talking about where we

 might hold it, when all of a sudden he left early and disappeared. I was just planning a party for a network

 that was shut down, except for my U.S. nodes. I decided what the hell, I'll invite the members of all the

 other networks my BBS (A Dark Tangent System) system was a part of including Cyber Crime International

 (CCI), Hit Net, Tired of Protection (ToP), and like 8 others I can't remember. Why not invite everyone on

 #hack? Good idea!




 Where did the name come from?

 The short answer is a combination of places. There as a SummerCon in the summer, a HoHoCon in the

 winter, a PumpCon during Halloween, etc. I didn't want any association with a time of year. If you are a

 Phreak, or just use your phone a lot you'll notes "DEF" is #3 on the phone. If you are into military lingo DEF

 CON is short for "Defense Condition." Now being a fan of the movie War Games I took note that the main

 character, David Lightman, lived in Seattle, as I do, and chose to nuke Las Vegas with W.O.P.R. when given

 the chance. Well I knew I was doing a con in Vegas, so it all just sort of worked out.


                                                                                                                  Page
                                                                                                                  Page 05
                                                                                                                       05
                   Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 11 of 50




                                        https://defcon.org/html/links/dc-faq/dc-faq.html




I want to sell stuff, how do I do this?

If you want a space in our vendor area, you need to apply. Because of limited space and our attempt to

have a diversity of vendors, you may not be able to get a booth. It is wise to think of staffing issues - if you

are one person do you want to spend your entire time behind a vendors booth?




                                                                                                                   Page 06
                                                                                                                   Page 06
         Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 12 of 50


                                        https://defcon.org/html/links/dc-faq/dc-faq.html




What are Goons?

They are the staff at DEF CON. They have many roles including safety, speaker coordination, vendor room

coordination, network operations, et cetera... Please try to be helpful to them if they make requests of you.

If any goon tells you to move, please do so immediately as there may be safety issues they are attempting

to address.




How can I help out or become a Goon?

The staff at DEF CON has grown organically. All positions have some degree of trust associated with them,

so typically new goons are ‘inducted’ by friends of existing goons. There are many random points when

goons need help and may ask people for help, generally for helping move stuff or other tasks that don't

require high amounts of trust or unsupervised work. Just because you help out doesn't make you a goon. If

you really want to be a goon, talk with one and see how much work they actually do (Hint: you may want to

enjoy being at DEF CON, not working full-time at it). One year the network group got a new Goon when a

networking engineer was needed, and he came to the rescue. The intent behind the goons is not to be

elitist, but to have a network of trusted people who can help run the conference - please do not feel upset if

you are not chosen to be a goon.




How can I help or participate?

DEF CON is not a spectator sport! Before the con, during, and after there are chances for you to get

involved. Before the con you can read about the contests and maybe sign up for one like Capture the Flag.

There are artwork contests for shirts and posters. You can practice your lock pick skills, or just get your

laptop all locked down and ready to do battle. Organize your .mp3s. Check out the DEF CON Forums to

see what other people are up to. If you want to create your own event, you can do that as well - you will not

get official space or sanctions, but virtually every official event at DEF CON started out as an unofficial

event.




                                                                                                                 Page 07
                                                                                                                 Page 07
                  Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 13 of 50




                              (I       https://defcon.org/html/links/dc-faq/dc-faq.html




Is it hot in Vegas?

Yes. Bring sunscreen (high SPF), do not fall asleep near the pool (lest you wake up to sunburn), and do not

walk far in the sun unless you are experienced in dealing with extreme heat. The sun is dangerous in Las

Vegas. Sleeping in lawn chairs is a sure way to wake up to severe burns in the morning when that bright

yellow thing scorches your skin. Drink plenty of water and liquids - remember that alcohol will dehydrate

you.




                                                                                                              Page 08
                                                                                                              Page 08
                     Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 14 of 50




                                    ® https://defcon.org/html/links/dc-faq/dc-faq.html




How much do rooms cost, and how do I reserve a room?

The DEF CON 30 group room registration is now live! We have room rates at several hotels, until they run

out of rooms in our block.



Follow this link: https://book.passkey.com/go/SHDEF3



Do not worry if the form doesn't immediately show the discounted rate. To verify that you're getting our

price you can mouse over the dates you've selected or begin the checkout process.




                                                                                                           Page 09
                                                                                                           Page 09
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 15 of 50




                                                                    Page 10
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 16 of 50




                        Exhibit 2



 Def Con Website: Forums Section




                                                                    Page 11
                                         Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 17 of 50
00                                              ©I            https://defcon.org                                                                                           0


          Home                         Recent News                          Flrchives »                        Fl bo ut »                  Community »                        Resources »                      SUBMIT! »

                                                —




                                                                         ^.,PEFC@h*„                                                                                - nti                      Want to participate?



                                                                                                jCjW                                                                                        There are a myriad of ways!

                                                                                                                                                                                 DEF CON is what you make it. If you'd like to do
                                                                                                                                                                                   more than just attend, have a look at our Get
                                                                                                                                                                                             Involved page for ideas!      /
                                                                                                  I       it
                                                                                                                                                                                  Year round, consider joining a local DEF CON
                                                                                                                                                                                  Group, or get active on the DEF CON Forums!
                DEF CON 32                                                 START HERE.                                            GET EDUCATED.
      Aug. 8-1 1 , 2024 at Caesars Forui
                                      um                                    New to DEF CON?                                 A treasure trove of hacking knowledge
  + Flamingo, Harrah's and Linq in Las V
                                       Vegas!                           Find out what it's all about!                              awaits in our past media!


                                                 £
             [ode of Conduct
                                            Black Badge Hall if Fame updated!
                                            Posted ID. 1023
                                                                                                                                                                                                         *
     $                         m
                                            We’ve overhauled the Black Badge
                                            Hall of Fame page! For anyone
                                                                                           u            S'
     m
                  *            f            unfamiliar, the BBHOF is our online
                                            record of everyone who’s won DEF

     a                                      CON’s ultimate prize- a limited
                                            edition badge that comes with
                                                                                                                                                            DEF CON 31 was August 10-13, 2023 at Caesars Forum
                                            lifetime free entry and eternal glory.
                                                                                                                                                                    + Flamingo, Harrah's and Linq in Las Vegas!




                                                                                                U.
                                            If you’re not on the list, maybe it’s
                                            time to get a plan together.
                                                                                                                                                                            $440 USD Cash at the door
 .onion Links
                                            And while we’re talking about
                                                                                                                                                                    Website | Get Receipt | Theme & Style Guide
 defcon.org
 media.defcon.org              6            contests, you can check the
                                            contest results for DC31 here.
 defcongroups.org
                               W-           Congratulations to the winners and                                                                                                    Coming Up
                                            respect to everyone who gets in the arena.

 Future Dates
                                                                                                                                                                              Access the Con Calendar
 DEF CON 32

 Aug. 8-11, 2024                            OEF LON 31 Live Performances are
 Book a Room!
                                            P sted!                                                                                                                             DEF CON Sites
 DEF CON 33
                                            Posted 92123
 Aug. 7-10, 2025                                                                                                                                                                                   55
                                                                                                                                                                                                   VS                       1
                                            Expect your productivity to take
                                            another major hit courtesy of DEF
 Speaker's Comer                                                                                                                                        Forums                Groups            Media Server            lnfoCon.org
                                            CON 31 . The music from Thursday
 DEF CON CFP: Thinking Back                 and Friday is live on the Media
                                                                                                                                                                                  The Goods
 and Moving Forward                         Server! Help yourself to selections
 by Nikita                                  from the amazing musicians we
                                                                                                                                                                DEFCON
                                                                                                                                                                                                               Source of
                                            hosted. But that’s not all - we’ve                                                                                      org itt                                    Knowledge
 Bridging the Gap: Dispersing               got video for those shows, too!                             vw.

                                                                                                                                                                                                                                      Page
                                                                                                                                                                                                                                      Page 12
                                                                                                                                                                                                                                           12
                                              Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 18 of 50




                                          O             https://forum.defcon.org                                                                                         0

                                                                                                                                                                                                      Login or Sign Up


                                                                                                                                                                                  r k




               blogs        articles       albums
                                                            K
                                                           degroups        defcon.org           media.defcon           infocon.org
                                                                                                                                   1      reddit        store
                                                                                                                                                                        il              Search
                                                                                                                                                                                                             *




forums

Today's Posts      Last Week      Unread      Con Calendar       iOS   Android          Who's Online     Member List


                                                                            Guests can browse, to post please join the forums



 FORUMS         LATEST ACTIVITY        MY SUBSCRIPTIONS
                                                                                                                                                                        Upcoming Events                             O
  Directory                                                                   Topics        Posts      Last Post

                                                                                                                                                                        There are no results that meet this criteria.
 Welcome to DEF CON!


         Announcements, Rules, ADA, Questions                                      195       827              by number6
                                                                       *
 ©                                                                                                           3 days ago                                                 Trending                                    O



  DEF CON Conference Planning
                                                                                                                                                                        KT9 White House Public Comment ...
                                                                                                                                                                        mW by mattwein
         DEF CON 32 Planning                                                        3         10              Is it possible for me and my company to exhibit at D...                Do you have strong feelin...
                                                                       *
         DEF CON 32                                                                                           by number6                                                       Channel: Opportunities For Policy
                                                                                                              1 week ago                                                       Engagement
                                                                                                                                                                                                            1 week ago



         DEF CON 31 Planning                                           *         713         1,168            DC31 - Thanks
         DEF CON 31                                                                                           by drinkwater                                             W*l OCTOBER 2023 MEET UP
                                                                                                             August 25, 2023, 22:49                                             by alethedenis
                                                                                                                                                                                        DC209 meets in-person o. . .
                                                                                                                                                                               Channel: DC209 Modesto/Turlock,
 Welcome to DEF CON Groups!                                                                                                                                                     California USA
                                                                                                                                                                                                            2 days ago

         JEF CON Groups                                                *           88        216              DefCon Group Liverpool, UK.
         DEF CON Groups are local meetings of people between                                                  by phleech
         interested in technology and hacking Listing                                                        4 weeks ago                                                W*| NOVEMBER 2023 MEET UP
                                                                                                                                                                                by alethedenis




                                                                                                                                                                                                                         Page
                                                                                                                                                                                                                         Page 13
                                                                                                                                                                                                                              13
                       Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 19 of 50
DEF CON 31 Planning - DEF CON Forums                                                                                               10/15/23, 7:42 PM



                                                                                                                         Login or Sign Up

       forums            blogs         articles         albums         dcgroups           defcon.orgSearchmedia.defcon

                         infocon.org           reddit        store

        Today's Posts        Last Week         Unread      Con Calendar       iOS     Android       Who's Online         Member List
           Forum      DEF CON Conference Planning          DEF CON 31 Planning

                                       Guests can browse, to post please join the forums




           Sub-Forums                                                           Topics     Posts     Last Post


                 DC31: Contests                                                     203     268               Maps of the digital lands
               Want to compete in a contest or run one? All                                                   by thetoolman
               contests and events will be listed here. (in                                                   August 23, 2023, 05:40
              person) only, (hybrid) in-person & virtual, (virt)
              Virtual only
         Sub-Forums:
             Car Hacking Village     (4/4)              DEF CON 31 Beard        (1/1)             Blue Team Village CTF (3/5)
             CTF                                        and Mustache Contest
             Blacks In Cyber Village (3/3)              Creative Writing Short (7/28)              AutoDriving CTF contest (2/2)
             CTF                                        Story Contest
             ? Cube (4/7)                                Octopus Game (11/16)                      Phish Stories (6/6)
            Radio Frequency          (4/4)               CMD+CTRL Cyber         (6/7)              Darknet-NG (4/4)
            Capture the Flag                             Range
            DC Kubernetes            (3/3)               DC Sticker Design      (1/2)             Pub Quiz at DEF CON (2/6)
            Capture the Flag (CTF)                       Contest
             DEF CON Scavenger (4/4)                    DC’s Next Top Threat (7/7)                Ham Radio Fox Hunting            (4/4)
             Hunt                                       Model (DCNTTM)                            Contest
            DEFCON MUD DUMB (5/11)                       Dungeons@Defcon (4/5)                    Battle of the Bots (4/4)
            TERMINAL EDITION
             Capture the Packet (4/4)                    HardWired (4/0)                          CrackMeIfYouCan (4/7)
             Embedded CTF (4/4)                          Hac-Man (2/2)                            Hack-A-Sat 4 (HAS4) (4/4)
             Hacker Jeopardy (3/6)                       HackFortress (4/4)                       Hardware Hacking Village        (3/3)
                                                                                                  CTF
             IoT Village CTF (4/4)                      It's In That Place Where (2/2)            Maps of the digital lands (4/5)
                                                        I Put That Thing That
                                                        Time
            OpenSOC Blue Team          (1/1)            pTFS Presents:           (4/4)             Red Alert ICS CTF (4/4)
            CTF CANCELED                                Mayhem Industries –
                                                        Starphish
             Red Team CTF (4/7)                         Social Engineering       (2/2)            Social Engineering Community (4/4)
                                                        Community (SEC)                           (SEC) Youth Challenge
                                                        Vishing Competition
             TeleChallenge (6/8)                         The Beverage Cooling (2/6)               The Dark Tangent Look-Alike      (4/4)
                                                         Contraption Contest                      Contest
             The Gold Bug              (4/4)              The Lonely Hard Drive (4/4)              Tinfoil Hat Contest (3/3)
             Challenge


https://forum.defcon.org/node/243392                                                                                                       Page 1 of 6



                                                                                                                                              Page 14
                       Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 20 of 50
DEF CON 31 Planning - DEF CON Forums                                                                                      10/15/23, 7:42 PM


            TOOOL Dozier Drill    (2/3)         venator aurum - A        (4/6)            Whose Slide Is It Anyway? (2/2)
            Lockpicking Challenge               Treasure Hunt
             Hack3r Runw@y (2/2)                IntelOps - Operation     (2/2)            5n4ck3y (4/4)
                                                Spacewatch
             Adversary Wars CTF (4/4)            Cloud Village CTF (2/2)                  DEF CON Chess Tournament (2/4)
             Trace Labs OSINT Search Party CTF (3/10)


                 DC31: Demo Labs                                             42     66               Slides
               Meet directly with the creator(s) of software                                         by tomgag
               tools or projects showing off their creations,                                        August 17, 2023, 16:19
              check out their tech and ask questions
         Sub-Forums:

           OWASP crAPI:           (1/1)            Vacuum Robot Hacking (1/2)            FlowMate - Florian Haag,         (1/1)
           Completely Ridiculous                   - Dennis Giese                        Nicolas Schickert
           API - Jayesh Ahire and
           Roshan Piyush
            Dracon - Spyros       (1/1)           Shufflecake, AKA         (4/4)         CNAPPGoat - Noam Dahan,          (1/2)
            Gasteratos                            Truecrypt on Steroids                  Igal Gofman
                                                  for Linux - Tommaso
                                                  Gagliardoni & Elia
                                                  Anzuoni
           Ek47 – Payload          (1/1)          Build Inspector - A      (1/1)          Strix Interceptor - Lexie Thach (1/2)
           Encryption with                        modern Javert on the
           Environmental Keys -                   trail of CI/CD Anomalies
           Kevin Clark, Skyler                    and Intruders - Jeremy
           Knecht                                 Banker
           T3SF (Technical         (1/1)           The Metasploit          (1/2)          Katalina - Gabi Cirlig (2/2)
           TableTop Exercises                      Framework - Spencer
           Simulation Framework) -                 McIntyre
           Federico Pacheco,
           Joaquin Lanfranconi
           SucoshScanny -          (1/1)          Vulnerable by Design:     (1/2)         Glyph - Corey Hartman (1/2)
           Mustafa Bilgici, Tibet                 Unguard, The Insecure
           Öğünç                                  Cloud-Native Twitter
                                                  Clone - Simon Ammer,
                                                  Christoph Wedenig
           EvilnoVNC: Next-Gen (1/1)              Attack Surface            (1/1)        OpenSSF Scorecard - Naveen (1/1)
           Spear Phishing Attacks                 Framework - Prajwal                    Srinivasan & Neil Naveen
           - Joel Gámez Molina                    Panchmahalkar & Mike
                                                  Henkelman
            Saturday - Joshua        (1/6)        Lambda Looter - Doug      (2/2)        The Wifydra: Multiheaded RF (1/1)
            Herman                                Kent & Rob Ditmer                      Panopticon - Lozaning
           USBvalve - Expose         (1/3)         Veilid - TC Johnson &    (1/3)        Lupo: Malware IOC Extractor - (1/2)
           USB activity on the fly -               Deth Veggie                           Vishal Thakur
           Cesare Pizzi
           Red Wizard: user-         (1/1)         Kraken, a modular multi- (1/3)        Abusing Microsoft SQL Server (1/1)
           friendly Red Teaming                    language webshell for                 with SQLRecon - Sanjiv Kawa
           infrastructure - Ben                    defense evasion - Raul
           Brücker                                 Caro
           BBOT (Bighuge BLS         (1/2)         Am I Exploitable? (MI- (1/1)          Pcapinator: Rise of the PCAP     (1/1)
           OSINT Tool) -                           X) - Ofri Ouzan & Yotam               Machines - Mike Spicer &
           TheTechromancer (Joel                   Perkal                                Henry Hill
           Moore) & Paul Mueller
            BLE CTF - Ryan           (1/1)        RuleProcessorY &        (1/3)          ThreatScraper: Automated         (1/2)
            Holeman & Alek Amrani                 Gramify - Rule                         Threat Intelligence Gathering
                                                  Optimization &                         and Analysis for VirusTotal -
                                                  Password Analysis tools                Aaron Morath & Dr. Scott
                                                  - Niels Loozekoot                      Graham


https://forum.defcon.org/node/243392                                                                                              Page 2 of 6


                                                                                                                                     Page 15
                       Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 21 of 50
DEF CON 31 Planning - DEF CON Forums                                                                                         10/15/23, 7:42 PM


            ProjectDiscovery Nuclei (2/4)         HardHat Command &         (1/1)          ICS Forensics tool - Maayan       (1/1)
            - Brendan O'Leary & Pj                Control Framework -                      Shaul & Ori Perez
            Metz                                  Jonathan Owens


                 DC31: Paid Training                                           38    39               Anthony Rose, Kevin Cl…
                 DEF CON Training: Unlike 4 hour workshops                                            by Coin
                 which happen during DEF CON, DEF CON                                                 June 22, 2023, 16:57
                Training are 2 days of training after con.
                defcontrainings.myshopify.com
         Sub-Forums:
             DC31: Paid training that were canceled (archive) (20/20)


                 DC31: Parties & Gatherings &                                  97    180              S.O.D.A Machine (Shell …
                 Events                                                                               by internetking
               Looking to meet other people in a social                                               August 12, 2023, 18:19
              gathering? Want to plan a get-together or
              party?
         Sub-Forums:

           Betting on Your Digital (3/6)            Panel: Ask the EFF (1/1)               Hacking Policy & Prompts -        (1/1)
           Rights: 2nd Annual EFF                                                          Happy Hour
           Benefit Poker
           Tournament at DC31
           Arts and Entertainment (4/6)             Lonely Hackers Club (8/8)              Blue Team Village Pool Party (1/5)
           general discussion
            Books, Books, Books (1/1)              Wisp Community Meet (1/1)               Village People Party (1/2)
            will Prevail                           Up at BTV Pool Party
           WISP Peer-to-Peer        (1/1)          WISP Chill Out Space (2/2)              S.O.D.A Machine (Shell On       (5/25)
           Mentoring and                           with Refreshments                       Demand Appliance)
           Networking
            THE UNOFFICIAL         (6/21)           Defcon.run (5/5)                        CycleOverride DEF CON Bike (2/9)
            DEF CON SHOOT                                                                   Ride
            The Book Exchange (1/1)                 Toxic BBQ (4/6)                         Arcade Party (1/4)
            VETCON (1/1)                            Queercon Party (1/1)                    GOTHCON 2023 (1/1)
            Friends of Bill (6/6)                   Queercon Mixers (4/4)                   EFF Tech Trivia (2/4)
             Hacker Karaoke (3/6)                   Ham Radio Exams (7/7)                  CULT OF THE DEAD COW       (2/11)
                                                                                           BREAKS THE INTERNET
                                                                                           (and you can too!)
            BIC 301-303 – Blacks (1/1)              BlanketFort Con (1/1)                   Hacker Flairgrounds (1/1)
            in Cyber Lituation Party
            CANCELED 'D’ in          (3/3)         DC 404/DC 678/ DC       (1/1)           DEF CON Holland Group             (1/1)
            Hacker Stands for                      770/ DC 470 (Atlanta                    Presents: VrijMiBo
            Diversity                              Metro)
             WISP DEF CON            (1/1)         University of Advancing (1/1)           Capitol Tech University (1/4)
             Scholars Meetup                       Technology
             Hack The Box (2/2)                     DC Kids Meetup (2/9)


                 DC31: Speakers & Presentations                                121   141              "Calling it a 0-Day - Hac…
                 Want to discuss and discover DEF CON 31                                              by TNR
                 speakers and their presentations?                                                    August 12, 2023, 11:40



                 DC31: Villages                                                146   164              Radio Frequency Village
                 Villages are the place to explore a topic in                                         by lost screw
                 depth organized by communities of hackers.                                           August 12, 2023, 13:45



https://forum.defcon.org/node/243392                                                                                                 Page 3 of 6


                                                                                                                                        Page 16
                       Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 22 of 50
DEF CON 31 Planning - DEF CON Forums                                                                                            10/15/23, 7:42 PM



         Sub-Forums:
            A.I. Village (4/4)                        Misinformation Village (4/4)            XRVillage (4/4)
            DEFCON GROUPS           (5/5)             Blue Team Village (4/6)                 Aerospace Village (5/5)
            VR (DCGVR)
            Biohacking Village (4/4)                  Crypto & Privacy       (4/7)            Appsec Village (4/4)
                                                      Village
             Blacks In Cyber           (3/3)          Carhacking Village (4/4)                Cloud Village (4/4)
             Village
             Data Duplication          (5/5)          Embedded Systems        (4/4)           Ham Radio Village (4/4)
             Village                                  Village
            Hardware Hacking           (4/4)          ICS Village (4/4)                       Lockpick Village (4/8)
            Village & Soldering
            Skills Village
             IoT Village (4/4)                        Packet Hacking         (7/7)            Payment Village (4/4)
                                                      Village
             Physical Security   (4/4)                Password Village (5/5)                  Quantum Village (4/4)
             Village
             Policy@DEFCON (4/4)                      Radio Frequency       (4/5)             Telecom Village (6/6)
                                                      Village
             Tamper Evident Village (4/4)            SkyTalks CANCELED (1/1)                  CANCELED: Rogues Village (4/4)
                                                     by organizer
             Recon Village (4/4)                      Red Team Village (4/11)                 Social Engineering Community (8/9)
                                                                                              Village
             Voting Village (4/4)


                 DC31: Workshops                                               33     166                Guillaume Ross, Austin …
                 Workshops are 4 hour long mini-classes that                                             by gepeto
                 require pre-registration - some classes have                                            August 12, 2023, 17:56
                requirements for certain skills or equipment


                 Workshop: Other threads, or                                    1         9              Any word on workshops …
                 canceled workshops                                                                      by number6
                  In order to have some transparency on                                                  June 30, 2023, 13:28
                workshops that may have been offered, but
                were canceled, I'll try to put canceled
                workshops here with "strikeout" and change to
                title to indicate cancellation. Also, any threads
                not -on-topic to specific workshops, but about
                workshops may be placed here.


                 DC31: Rides and Roomsharing                                    7         9              Room Space Available …
                 Want to share a ride or room during a                                                   by Mr Frosty
                 pandemic?                                                                               August 9, 2023, 05:51


                                                           Mark Channels Read


          TOPICS        LATEST ACTIVITY        MY SUBSCRIPTIONS        PHOTOS

                                                                                                Page   1   of 3           Filter

                   Topics                                                             Statistics       Last Post

                   Sticky:      Helping you plan your DC31:                           3                by worldwise001

https://forum.defcon.org/node/243392                                                                                                  Page 4 of 6


                                                                                                                                          Page 17
                       Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 23 of 50
DEF CON 31 Planning - DEF CON Forums                                                                        10/15/23, 7:42 PM



                   scheds in HTML, PDF, Google Calendar,              responses            August 8, 2023,
                   ical, etc: view online or download                 481 views            00:22
                   Started by qumqats, July 25, 2023, 03:53           0 likes



                   Sticky:    DC31: Unofficial comments on            2                    by dmr
                   lines to redeem pre-reg codes, or buy              responses            July 31, 2023,
                   badges....                                         515 views            16:43
                   Started by number6, July 13, 2023, 07:39           0 likes


                   Sticky:   Extremely IMPORTANT notes                0                    by Undertaker
                   regarding human registration:                      responses            July 28, 2023,
                   Started by Undertaker, July 28, 2023, 17:01        379 views            17:01
                                                                      1 like


                     DC31 - Thanks                                    1 response           by drinkwater
                   Started by trill1990, August 25, 2023, 07:02       72 views             August 25, 2023,
                                                                      0 likes              22:49


                     Thank you DEFCON 31                              0                    by himple
                   Started by himple, August 14, 2023, 07:04          responses            August 14, 2023,
                                                                      85 views             07:04
                                                                      0 likes

                     Issue with wifi reg on Android                   5                    by popcorn
                   Started by chazchaz101, August 9, 2023, 12:43      responses            August 10, 2023,
                                                                      123 views            11:57
                                                                      0 likes

                     Wifi Reg                                         2                    by Tangential
                   Started by Station, August 8, 2023, 06:32          responses            August 8, 2023,
                                                                      180 views            10:36
                                                                      0 likes


                      DEF CON 31 badge lanyard style /                0                    by
                   attachment point                                   responses
                   Started by BrownieInMotion, July 25, 2023, 23:54   211 views
                                                                                   BrownieInMotion
                                                                      0 likes
                                                                                   July 25, 2023, 23:54


                     DC31 - Badge sharing/transfer                    4                    by tghosth
                   Started by tghosth, July 25, 2023, 00:16           responses            July 25, 2023,
                                                                      212 views            11:05
                                                                      0 likes


                     Newbie                                           2                    by Zzzzzz6er
                   Started by Zzzzzz6er, July 11, 2023, 17:25         responses            July 22, 2023,
                                                                      200 views            06:37
                                                                      0 likes


                   Vendors area missing in forums                     0                    by Michels
                   Started by Michels, July 15, 2023, 04:04           responses            July 15, 2023,
                                                                      132 views            04:04
                                                                      0 likes



https://forum.defcon.org/node/243392                                                                              Page 5 of 6


                                                                                                                      Page 18
                       Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 24 of 50
DEF CON 31 Planning - DEF CON Forums                                                                                  10/15/23, 7:42 PM



                   DEF CON 31 Badge SAO Angle                                   2                        by dmr
                   Started by lilibyte, June 2, 2023, 10:16                     responses                June 28, 2023,
                                                                                683 views                11:24
                                                                                0 likes



                   Problems with pre-registration                               0                        by v4jr4w4rr10r
                   Started by v4jr4w4rr10r, June 11, 2023, 08:59                responses                June 11, 2023,
                                                                                154 views                08:59
                                                                                0 likes


                                                                                              1      2       3       Next


                                                      Mark This Channel Read



           Dark-Blue             English (US)


                  (r) DEF CON
                               HELP       CONTACT FORUM ACCOUNT SUPPORT        DMCA    DEF CON POLICIES           GO TO TOP
          Communications, Inc.
     All times are GMT-8. This
                                                                                            page was generated at 1 minute ago.




https://forum.defcon.org/node/243392                                                                                        Page 6 of 6


                                                                                                                                Page 19
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 25 of 50




                                                                    Page 20
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 26 of 50




                        Exhibit 3



Def Con Website: Hotel Room Block




                                                                    Page 21
                                           Case 2:23-cv-01932-BAT     Document 39-1 Filed 02/15/24 Page 27 of 50
| Show the next page |                             https://defcon.org
                                                                                                                                                                 3
             Home                        Recent News                      FIrchivBS »                Fl bo ut »                  Community »                       Resources »                      SUBMIT! »




                                                  TO
                                                                        * , DEFCON
                                                    S'*
                                                                                             j "J
                                                                                         pw
                                                                                         L. I
                                                                                          it
                  DEF CON 32                                            START HERE.                                     GET EDUCATED.                                             GET INVOLVED.
         Aug. 8-1 1 , 2024 at Caesars Forui
                                         um                              New to DEF CON?                          A treasure trove of hacking knowledge                             Want to participate?
    + Flamingo, Harrah's and Linq in Las V
                                         Vegas!        y             Find out what it's all about!                       awaits in our past media!                               There are a myriad of ways!

                                                   -




               Lode oF Conduct
                                              Black Badge Hall if Fame updated!
                                              Posted ID. 1023

       &
                                              We’ve overhauled the Black Badge
                                              Hall of Fame page! For anyone
        m
                    *            f            unfamiliar, the BBHOF is our online
                                              record of everyone who’s won DEF

       a            ©                         CON’s ultimate prize- a limited
                                              edition badge that comes with
                                                                                                                                                  DEF CON 31 was August 10-13, 2023 at Caesars Forum
                                              lifetime free entry and eternal glory.
                                                                                                                                                          + Flamingo, Harrah's and Linq in Las Vegas!




                                                                                                      I
                                                                                            \
                                              If you’re not on the list, maybe it’s
                                              time to get a plan together.
                                                                                                                                                                  $440 USD Cash at the door
   .onion Links
                                              And while we’re talking about
                                                                                                                                                          Website | Get Receipt | Theme & Style Guide
   defcon.org
   media.defcon.org              6            contests, you can check the
                                              contest results for DC31 here.
   defcongroups.org                           Congratulations to the winners and                                                                                        Coming Up
                                              respect to everyone who gets in the arena.

   Future Dates
                                                                                                                                                                     Access the Con Calendar
   DEF CON 32

   Aug. 8-11, 2024                            OEF LON 31 Live Performances are
   Book a Room!
                                              P sted!                                                                                                                 DEF LON Sites
   DEF CON 33
                                              Posted 92123                                                                                                                              SB
   Aug. 7-10, 2025                                                                                                                                                                      »
                                                                                                                                                                                                                1
                                              Expect your productivity to take
                                              another major hit courtesy of DEF
   Speaker's Corner                                                                                                                           Forums               Groups            Media Server          lnfoCon.org
                                              CON 31 . The music from Thursday
   DEF CON CFP: Thinking Back                 and Friday is live on the Media
                                                                                                                                                                        The Goods
   and Moving Forward                         Server! Help yourself to selections
   by Nikita                                  from the amazing musicians we
                                                                                                                                                      DEFCON *©*                                    Source of
                                              hosted. But that’s not all - we’ve                                                                          org ft                                    Knowledge
   Bridging the Gap: Dispersing               got video for those shows, too!
   Knowledge through Research                 Download now and you’ll also get                                                                       Official Swag                        Conference Recordings          Page
                                                                                                                                                                                                                         Page 22
                                                                                                                                                                                                                              22
                                    Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 28 of 50




3   i0QO                                              0j            https://defcon.org

                Home                         Recent News                          Archives »                  About »                   Community »                       Resources »                      SUBMIT! »




                                        At



             tug. 8-1 1 , 2024 at Caesars For um
                                                                                  -                   J
                                                                                                              DEFCON
        + Flamingo,
             ningo, Harrah's and Linq in LasiVegas!


                       Book a Room!
                                                                    II; V
                                                                                                                f
                                                                                 START HERE.                                   GET EDUCATED.                                             GET INVOLVED.
                                                                                  New to DEF CON?                        A treasure trove
                                                                                                                                    t      of hacking knowledge                            Want to participate?
                                                                              Find out what it's all about!                     awai
                                                                                                                                   lits in our past media!                              There are a myriad of ways!




                 Lode of Conduct
                                                  Black Badge Hall of Fame updated!
                                                  Posted 10.10.23

                                   m
                                                  We’ve overhauled the Black Badge
                                                  Hall of Fame page! For anyone
                                                                                                  '[S'
           m
                       *           f              unfamiliar, the BBHOF is our online



           a           ©
                                                  record of everyone who’s won DEF
                                                  CON’s ultimate prize- a limited                                       vb/
                                                  edition badge that comes with
                                                  lifetime free entry and eternal glory.
                                                                                                                        ^S                               DEF CON 31 was August 10-13, 2023 at Caesars Forum
                                                                                                                                                                  + Flamingo, Harrah's and Linq in Las Vegas!
                                                  If you’re not on the list, maybe it’s
                                                  time to get a plan together.
                                                                                                                                                                          $440 USD Cash at the door
       .onion Links
                                                  And while we’re talking about
                                                                                                                                                                  Website | Get Receipt | Theme & Style Guide
       defcon.org
       media.defcon.org            .6             contests, you can check the
                                                  contest results for DC31 here.
                                                                                                               *
       defcongroups.org                           Congratulations to the winners and                                                                                           Coming Up
                                                  respect to everyone who gets in the arena.

       Future Dates
                                                                                                                                                                           Access the Con Calendar
       DEF CON 32

       Aug. 8-11, 2024                            OEF LON 31 Live Performances are
       Book a Room!
                                                  Posted!                                                                                                                    DEF CON Sites
       DEF CON 33
                                                  Posted 9.21.23
       Aug. 7-10, 2025                                                                                                                                                                         W
                                                                                                                                                                                                                       1
                                                  Expect your productivity to take
                                                                                                                                                                                                                                Page
                                                                                                                                                                                                                                Page
                                                                                                                                                                                                                                23
                                                  another major hit courtesy of DEF
       Soeaker's Corner                                                                                                                               Forums               Groups           Media Server          InfoCon.orq
                                                Case  2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 29 of 50 0
                                                 g https://book.passkey.com/gt/219444119?gtid=966ea4b34d29e7eab1d08a008362607c
3

    CAESARS
                                                                                                                                               Start Over    Manage Existing Reservation      Contact Information
    FORUM



     DEFCON 32
     August 3, 2024 - August 13, 2024

     Caesars Forum
     3911 Koval Lane
     Las Vegas, NV 89109, US




     Check-in                                               Checkout                                              Rooms                                       Guests per room

                                                                                                                                                                1                                    Search


     View all hotels




                                                                                                                                                                                Harrah's Las Vegas: Restaurants

      Welcome!

      We are now accepting hotel reservations for our upcoming event. Through this website you can book,
      modify or cancel your hotel reservations. We look forward to seeing you!                                                                              Show details


      Please note that upon booking your reservation, your credit card will be charged a deposit equal to the
      first night's room and tax. To avoid forfeiture of deposit, please ensure all changes and cancellations are                                                               Flamingo Las Vegas: Restaurants
      made at least 72 hours prior to scheduled arrival date.


      Should you have any questions regarding hotel reservation policies, please contact the hotel directly.
      We are pleased that you will be joining us and look forward to seeing you in Las Vegas.
                                                                                                                                                            Show details
      Read Less


                                                                                                                                                                                The LINQ Resort and Casino:
                                                                                                                                                            W

                                                                                                                                                            ,J5
                                                                                                                                                                    t'’         Restaurants
      Please note that upon booking your reservation, your credit card will be charged a deposit equal to the first night's room and tax. To
                                                                                                                                                            10
      avoid forfeiture of deposit, please ensure all changes and cancellations are made at least 72 hours prior to scheduled arrival date.

      You may be charged a nightly resort fee which will be added into your total on the final summary page. Please be sure to read the                     Show details
      hotel policies for more information specific to your event.


                                                                                                                                                                                Flamingo Las Vegas: Pools
      Read More
                                                                                                                                                                                                                  Page 24
                                                                                                                                                                                                                  Page 24
                                                     Case   2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 30 of 50
                                                     [h https://book.passkey.com/gt/219444119?gtid=966ea4b34d29e7eab1d08a008362607c
D                                                                                                                                                                               0




    CAESARS
                                                                                                                                               Start Over    Manage Existing Reservation      Contact Information
    FORUM



     DEFCON 32
     August 3, 2024 - August 13, 2024

     Caesars Forum
     3911 Koval Lane
     Las Vegas, NV 89109, US




     Check-in                                               Checkout                                              Rooms                                       Guests per room

                                                                                                                                                                1                                    Search




                                      July                                                   August


            Su       Mo        Tu      We     Th       Fr     Sa        Su      Mo      Tu       We      Th      Fr      Sa

                                                                                                                                                                                Harrah's Las Vegas: Restaurants
                      1        2        3      4       5       6                                          1       2       3



             7       8         9        10     11      12     13        4        5       6       7       8        9      10
                                                                                                                                                             Cafe'
                                                                                                                                    ook.

                                                                                                                                                            Show details
            14       15        16       17    18       19     20        11      12      13       14      15      16      17

                                                                                                                                    :o the
            21       22        23      24     25       26     27        18      19      20       21      22      23      24         >ns are                                     Flamingo Las Vegas: Restaurants


            28       29        30       31                              25      26      27      28       29      30      31
                                                                                                                                    ctly.

                                                                                                                                                            Show details
                 Event Dates        Selected Dates


                                                                                                                                                                                The LINQ Resort and Casino:
                                                                                                                                                            w              1 Restaurants
      Please note that upon booking your reservation, your credit card will be charged a deposit equal to the first night's room and tax. To
                                                                                                                                                            10
      avoid forfeiture of deposit, please ensure all changes and cancellations are made at least 72 hours prior to scheduled arrival date.

      You may be charged a nightly resort fee which will be added into your total on the final summary page. Please be sure to read the                     Show details
      hotel policies for more information specific to your event.


                                                                                                                                                            L2SJ . : 'iWTj Flamingo Las Veqas: Pools          Page
                                                                                                                                                                                                              Page 25
                                                                                                                                                                                                                   25
Browse hotels            Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 31 of 50                                              10/15/23, 7:28 PM




                                                                                                                                                 Start Over




DEF CON 32
August 3, 2024 - August 13, 2024


  Sort by
                                                                                                                   View map       Reservation Summary
    Name (A/Z)                          Show available only

  Show more filters                                                                                                               Check-in

                                                                                                                                    Sat, Aug 3, 2024


We found 6 hotels matching your search                                                                                            Checkout

                                                                                                                                    Tue, Aug 13, 2024

                           Caesars Palace 
                           3570 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES             USD 185.20 -            Rooms
                                                                                                            290.20                  1
                      As famous as Las Vegas itself, Caesars Palace is the best-known casino            Average nightly rate
                           resort in the world—and with good reason. What began as a grand casino          +Taxes & Fees 
                           honoring the indulgent luxuries of ancient Rome has somehow evolved into                               Guests per room
                           something even more spectacular. From the moment you walk through the                Select
                                                                                                                                    1
                           doors of Caesars Palace, you’ll understand why this iconic Las Vegas hotel
                           sets the standard for opulent details, impeccable service and lavish Las         View policies
                           Vegas accommodations.

                           Key Amenities
                           Room service                               Restaurant

                           Fitness center/health club                 Business center

                           Internet access                            Cable TV

                           Concierge                                  Gift shop                                                                        Harrah’s L
                           Show more
                                                                                                                                                       Restauran
                            Aug
                              Sat      Sun     Mon      Tue     Wed     Thu        Fri   Sat    Sun   
                                                                                                                                 Show details
                               3        4       5        6       7        8        9      10    11


                                                                                                                                                       Flamingo
                                                                                                                                                       Restauran


                                                                                                                                 Show details



                                                                                                                                                       The LINQ
                                                                                                                                                       Casino:


                                                                                                                                 Show details



                                                                                                                                                       Flamingo




                                                                                                                                 Show details




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                                                               Page 1 of 5



                                                                                                                                                 Page 26
Browse hotels          Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 32 of 50                                                 10/15/23, 7:28 PM




                          Flamingo Las Vegas                                                                                                          The LINQ
                          3555 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES                USD 134.00
                                                                                                           Average nightly rate
                                                                                                                                                      Casino:
                    For 70 years, Flamingo Las Vegas has set the trend for Las Vegas style. This is
                      where the Strip began, and though much has changed since then, the
                                                                                                            +Taxes & Fees 


                          Flamingo’s vibrancy and allure remain the same. The Flamingo is classic                Select           Show details
                          Vegas with a contemporary sophistication that’s as welcoming as it is hip.
                          Stay center strip at the forever fabulous Flamingo Las Vegas Hotel and             View policies
                          Casino.                                                                                                                     Harrah’s L

                          Key Amenities
                          Room service                               Restaurant

                          Fitness center/health club                 Business center                                              Show details
                          Internet access                            Cable TV

                          Concierge                                  Gift shop                                                                        The LINQ
                          Golf nearby                                Hair dryer                                                                       Casino:
                          Show more
                           Aug
                                                                                                                                 Show details
                             Sat       Sun    Mon      Tue     Wed      Thu       Fri   Sat     Sun
                              3         4      5        6       7        8        9        10   11
                                                                                                                                                      Flamingo


                          Harrah's Las Vegas
                          3475 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES               USD 156.20 -
                                                                                                                                  Show details
                                                                                                             186.20
                    Come out and play and stay at Harrah's Las Vegas at the center of the
                      famous Las Vegas Strip. It's not just a Las Vegas Strip hotel, it's right at the
                                                                                                           Average nightly rate
                                                                                                            +Taxes & Fees 
                          heart of the most fabulous city on earth!
                                                                                                                 Select

                          Key Amenities                                                                      View policies
                          Room service                               Restaurant

                          Fitness center/health club                 Business center

                          Internet access                            Cable TV

                          Car rental                                 Gift shop

                          Golf nearby                                Hair dryer

                          In-room movies                             Iron/ironing boards

                          Meeting rooms
                          Show more                                  Mini bar

                           Aug
                             Sat       Sun    Mon      Tue     Wed      Thu       Fri   Sat     Sun    
                              3         4      5        6       7        8        9        10   11




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                                                                Page 2 of 5



                                                                                                                                                  Page 27
Browse hotels          Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 33 of 50                                          10/15/23, 7:28 PM




                         Paris Las Vegas 
                         3655 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES                 USD 139.80
                                                                                                           Average nightly rate

                    With its 530-foot-tall replica of the Ei"el Tower, its Arc de Triomphe, the           +Taxes & Fees 
                         sophisticated shopping along Le Boulevard, Paris Las Vegas is more than a
                         magnificent homage to the City of Light; it's one of the most sophisticated             Select
                         destinations you could possibly choose. Give in to your every desire at Paris
                         Las Vegas, whether you crave decadent dining, world class entertainment or          View policies
                         thrilling nightlife.

                         Key Amenities
                         Room service                               Restaurant

                         Fitness center/health club                 Business center

                         Internet access                            Cable TV

                         Concierge                                  Gift shop

                         Golf nearby                                Hair dryer
                         Show more
                           Aug
                             Sat     Sun     Mon      Tue     Wed      Thu        Fri   Sat   Sun     
                              3        4      5        6       7        8         9     10    11




                         Planet Hollywood Resort & Casino 
                         3667 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES                USD 124.00 -
                                                                                                             164.00
                    There’s something about Planet Hollywood that makes a person feel famous.            Average nightly rate
                         Everything from the stylish accommodations to the level of personal service        +Taxes & Fees 
                         is decidedly A-List. With an abundance of distinctive Hollywood-inspired
                         venues, Planet Hollywood can transform any meeting into a hip, red carpet               Select
                         a"air. At Planet Hollywood, the celebrity lifestyle is yours for the living and
                         fame lies around every corner.                                                      View policies

                         Key Amenities
                         Room service                               Restaurant

                         Fitness center/health club                 Business center

                         Internet access                            Cable TV

                         Concierge                                  Convention center

                         Gift shop                                  Golf nearby
                         Show more
                           Aug
                             Sat     Sun     Mon      Tue     Wed      Thu        Fri   Sat   Sun     
                              3        4      5        6       7        8         9     10    11




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                                                       Page 3 of 5



                                                                                                                                          Page 28
Browse hotels          Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 34 of 50                                       10/15/23, 7:28 PM




                         The LINQ Hotel + Experience
                         3535 Las Vegas Boulevard South, Las Vegas, NV 89109, UNITED STATES              USD 131.90
                                                                                                        Average nightly rate

                    Energetic and eclectic, The LINQ Hotel + Experience is designed to fuel
                      connections. Rooms include cutting-edge technology, modern furnishings
                                                                                                         +Taxes & Fees 


                         with access to the Casino, the LINQ outdoor dining and shopping district and         Select
                         The High Roller observation wheel. The LINQ Hotel + Experience is redefining
                         the iconic Las Vegas skyline.                                                    View policies

                         Key Amenities
                         Room service                              Restaurant

                         Fitness center/health club                Internet access

                         Cable TV                                  Concierge

                         Gift shop                                 Golf nearby

                         In-room movies                            Iron/ironing boards

                         Meeting rooms                             Public transportation nearby
                         Show more
                          Aug
                            Sat      Sun    Mon       Tue    Wed      Thu        Fri   Sat    Sun   
                             3        4       5        6       7       8         9       10   11




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                                                    Page 4 of 5



                                                                                                                                       Page 29
Browse hotels                 Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 35 of 50          10/15/23, 7:28 PM




     All data protected by Passkey International, Inc. No unauthorized use or disclosure is permitted.
     Copyright © 1997-2023 Passkey International, Inc. All Rights Reserved. Privacy Policy.                             ULY-2023




https://book.passkey.com/event/50635482/owner/1482103/list/hotels                                              Page 5 of 5



                                                                                                                 Page 30
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 36 of 50




                                                                    Page 31
  Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 37 of 50




                          Exhibit 4



Def Con Website: Open Calls and Guide




                                                                      Page 32
                                                        Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 38 of 50




                                                      https://defcon.org
                                                                                                                                                                                3
         Home                         Recent News                              Archives »                     About »                  Community »                      Resources »                          SUBMIT! »

                                                                                                                                                                                                Open Calls




                                                                     x
                                                                                                         DEFCON
                                           I
                                                                                             sW
                                                                                             - . i       /L
                                                                 d
            DEF CON 32                                                     START HERE.                                       GET EDUCATED.                                              GET INVOLVED.
     Aug. 8-11, 2024 at Caesars Forum                                        New to DEF CON?                            A treasure trove of hacking knowledge                            Want to participate?
 + Flamingo, Harrah's and Linq in Las Vegas!                             Find out what it's all about!                         awaits in our past media!                              There are a myriad of ways!




         Code of Conduct
                                               Black Badge Hall of Fame updated!
                                               Posted 10.10.23

                           m
                                           We’ve overhauled the Black Badge                  /
                                               Hall of Fame page! For anyone
   -mi
                            f
                                                                                                                                                                                   11
                                                                                                 of/
                                               unfamiliar, the BBHOF is our online
                                               record of everyone who’s won DEF

               ©                           CON’s ultimate prize- a limited
                                           edition badge that comes with
                                                                                             \
                                                                                                  \ W/
                                                                                                                                                        DEF CON 31 was August 10-13, 2023 at Caesars Forum
                                               lifetime free entry and eternal glory.
                                                                                                                                                                + Flamingo, Harrah's and Linq in Las Vegas!
                                               If you’re not on the list, maybe it’s
                                           time to get a plan together.
                                                                                                                                                                        $440 USD Cash at the door
.onion Links
defc
                                           And while we’re talking about
                                               A1A1      I           3ST*YS"                         W/                                                         Website | Get Receipt | Theme & Style Guide




                                                                                                                                                                                                                  Page
                                                                                                                                                                                                                  Page 33
                                                                                                                                                                                                                       33
                            Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 39 of 50




                         https://defcon.org/html/defcon-31/dc-31-theme.html                                                                                   0


Li                                                           2-* lift                                                                                                        I
lb r
                   Wtit               7
                                                                                                   apt
 II I  DEF CON 31 Theme & Style Guide                                                                                 V
                                                                                                                1 I       .
                                                                                                                                               I   II        JBil
        Theme & Style
                                              Details
        Guide
                                              Logo                                         Fonts                                         Palette
        COVID-19 Policy                                                                    FREEWAY                                       #686EA0 | Pantone 7668C

                                                                                           GOTHIC
        Call Index                                                                                                                       #81C8BD | Pantone 564C

                                                                                           Benguiat
        Press Registration                                                                                                               #ECDA25 | Pantone 604C


                                                                                                                                         #F8A28B | Pantone 1625C

        Call for Exhibitors



        Call for Music


                                              DEF COM 31's theme started with a quote and a picture.
        Call for Parties & Meetups


                                             The image is DEF COH's own Grifter looking neon dapper in his 'Guy Fawkes After Dark'
        Call for Papers
                                             hoodie. Beyond serving some extra smooth FSociety vibes, the image has a resonance




                                                                                                                                          -I
                                             with the current moment. The backdrop is darkness, but the protagonist is lit from
                                             within. The figure is not alone, although it might seem so at first glance.
        Policy @ DEF CON
                                             We live in vexatious times. The pace of change seems to escalate every day. The
                                             amount of information we must ingest, assimilate and resolve has never been higher,
        Call for Workshops                   and that rate of change is having tectonic effects. Is it because we are more aware? It's
                                             never been harder to imagine what the world will look like to the next few generations.


        Call for Demo Labs                                                                                                                                    *
                                             There are three possible responses to moments like this. We can retreat into an

                                             idealized past of simpler times where we were less aware, we can become frozen in our
                                             present or we can adapt and ride the shockwave into the future.
        Call for Trainers                                                                                                                               3
                                             Which brings us to the quote.
                                                                                                                                              -


        Vendor Application
                                             'We are living through a revolt against the future. The
                                             future will prevail.'

        Call for Villages                                                                                                                                           -




                                             This DEF COM is about the future we want to bring into being, together. DEF COH's
                                             hacker community has a powerful role to play in whatever comes next, From hardware to policy, from biohacking to
                                             satellites.
        Call for Contests & Events




                                                                                                                                                                   Page
                                                                                                                                                                   Page 34
                                                                                                                                                                        34
                      Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 40 of 50
DEF CON® 31 Hacking Conference - Call for Exhibitors                                      10/15/23, 8:35 PM




       DEF CON 31 Call for
       Exhibitors
           Theme & Style Guide
           COVID-19 Policy
           Call Index

           Call for Exhibitors is Now Closed
           We're trying something new for DEF CON 31 and adding a dedicated
           space for exhibitors. Some companies and organizations don't have a
           physical thing to sell and don't fit in our Vendor room but still have
           something to oﬀer our attendees.

           Being an exhibitor means you want to connect with, and give back to, our
           community. We want to see exhibitors at DEF CON that DEF CON attendees

https://defcon.org/html/defcon-31/dc-31-cfe.html                                                Page 1 of 4

                                                                                               Page 35
                      Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 41 of 50
DEF CON® 31 Hacking Conference - Call for Exhibitors                                               10/15/23, 8:35 PM



           want to see. Looking to get feedback from existing customers, recruit new
           talent or demo a new product relevant to our community? This is your
           opportunity.

           If this sounds like something you or your company are interested in, please
           email exhibitors[at]defcon.org with any questions you may have.



           F.A.Q.
           What are Exhibitors?
           Exhibitors are businesses within the Information Security space who wish to
           engage with the DEF CON community. In previous years, our Exhibitors
           would have been located within the Vendor space, but we feel it would
           benefit our vendors, exhibitors, and attendees to provide Exhibitors their
           own space to attract the right audience.

           How are Exhibitors diﬀerent than Vendors?
           Vendors mostly come from the community and sell wares. Attendees walk
           into the Vendor space, they give cash to a vendor and walk away with
           something shiny. Exhibitors are businesses from all parts of the information
           security space who are more interested in attracting talent for their teams,
           connecting with existing customer bases, or making their oﬀerings known to
           the community.

           What does the DEF CON community get from Exhibitors?
           DEF CON gets fantastic community-focused businesses who bring
           opportunities to our attendees. The more important question is what else
           does the community get from Exhibitors?


               A portion of the proceeds from each exhibitor booth will be donated to a pre-
               approved, non-profit organizations, of the exhibitors choice. Each exhibitor will


https://defcon.org/html/defcon-31/dc-31-cfe.html                                                         Page 2 of 4

                                                                                                        Page 36
                      Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 42 of 50
DEF CON® 31 Hacking Conference - Call for Exhibitors                                         10/15/23, 8:35 PM



               display where their donations are going.
               With top tier Exhibitor packages, a portion of the proceeds will go towards
               sponsoring a DEF CON party in the name of the exhibitor. Think in years past when
               there was an annual DEF CON / IOActive Party.


           What do Exhibitors get from DEF CON?
           Exhibitors will be able to engage with our attendees in a more traditional
           format of tables and booths. Exhibitors will also have premium opportunities
           for community engagement through parties and other events that require
           evening event space.

           In addition to a ready-to-go setup, they’ll receive personalized guidance and
           advice from the DEF CON exhibitors team on how to best engage with the
           DEF CON community. DEF CON is a unique community that is not always
           simple to engage with, we are the hacking community at its most grass
           roots. We strive to represent the individual hacker, researcher, and academic
           in their most pure, unadulterated form. Our Exhibitor staﬀ is comprised of
           veteran DEF CON attendees and long-time members of the community who
           can provide your company with practical advice for engagement with the
           community, and help your team understand what to expect from our
           community.

           What don't Exhibitors get from DEF CON?
           DEF CON does not share any attendee contact information with Vendors or
           give them access to any private or confidential information. Attendees
           decide what to reveal about themselves when talking with an exhibitor.


           Top of Page




https://defcon.org/html/defcon-31/dc-31-cfe.html                                                   Page 3 of 4

                                                                                                   Page 37
                      Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 43 of 50
DEF CON® 31 Hacking Conference - Call for Exhibitors                                      10/15/23, 8:35 PM




          © 1992-2023 DEF CON Communications, Inc. All Rights Reserved | DEF CON Policies |
                                     DMCA Information




https://defcon.org/html/defcon-31/dc-31-cfe.html                                                Page 4 of 4

                                                                                               Page 38
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 44 of 50




                                                                    Page 39
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 45 of 50




                        Exhibit 5



Def Con Website: Def Con Cancelled




                                                                    Page 40
               Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 46 of 50




                    a
1          I        a                                         I



LIVE                            r


                           J


            4A




                        DEF CON ACTUALLY CANCELED?
WTF                VIRUS DRIVES HACKER CONFERENCE TO THE ‘INTERNET’

The ‘DEF CON is canceled’ meme has crossed over into real life, courtesy of COVID-19. In early March we
had hopes that things would be stable by August. That is no longer realistic. Currently there’s no way to
gather everyone together and keep them safe, so The Dark Tangent has decided to cancel the in-person

event.



We will try an experiment this year - an online DEF CON. Please read The Dark Tangent’s more detailed
thoughts on the situation and then head over to the Forums to get involved. There is a DEF CON Safe
Mode FAQ that should help to answer common questions.


We wish there was better news, but we hackers are a resilient bunch. Stay healthy, stay safe, and stay in
touch so we can all be together virtually this August 6-9 and again for DEF CON 29 in person.




                                                                                                            Page 41
                                                                                                            Page 41
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 47 of 50




                                                                    Page 42
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 48 of 50




                        Exhibit 6



   Def Con Website: Get Involved




                                                                    Page 43
              Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 49 of 50
                               @5https://defcon.org/html/links/get-involved.html




lome                     Recent News                    Archives                      R bo Lit »                  Coil
                                               \      \\

 There is an old adage in the DEF EDN Community, "DEF EDN is what you make it", that holds

 very true to this day. IF you yearn to stand out in the DEF EDN crowd, or just want to help

 contribute to this crazy gathering we have every year, there are a number oF ways you can

 get more involved with the con. Most calls For content open early in the year [Jan-Mar], so
 keep your eyes peeled!



   Start a Contest
   Contests are a huge part of the DEF CON experience, and you may be surprised to know that most, if not
   all of them, started with a crazy idea someone proposed on the forums and brought to life. Submit a contest
   application through the Call for Contests and Events!



   Submit a Talk
   Do you have an exciting piece of research the hacking community needs to know about? Consider
   submitting to the DEF CON Call for Papers (opening soon). If you need some pointers on the best way to
   submit, direct from the person who accepts them, have a gander at Nikita's post on the Speaker's Corner
   page, "How do I make my CFP stand out?". Check out the rest of the speaker's corner page too, it has
   some great advice from folks who have been through it! Check out the currrent year's CFP (usually opens in
   early February)!



   Answer the Call For Music
   Are you musically gifted? We have a Call for Music every year, and if accepted, you might get to play one of
   our many events and parties.




   Throw a Party!
   At DEF CON 21 , the DEF CON Pub Crawl was born. Basically, we hand out a bunch of rooms in a central
   location of the conference area to groups who want throw a party. You'll need to send us an application,
   similar to a CFP, that tells us why we should pick your party. We'd recommend you go with a theme, or

   something cool that stands out. DEF CON will set up a few cash bars lining the hallways in pub row, so
   party goers can get their refreshments, it's up to you to provide the atmosphere. We'll post a Call for

   Parties, so apply and show us what you've got!



   Otter a Hand
   There is plenty of work to be done behind the scenes at DEF CON, and many Goons were borne of a desire
   to pitch in. Ask around to find the right people and offer your help.

                                                                                                                     Page
                                                                                                                     Page 44
                                                                                                                          44
Case 2:23-cv-01932-BAT Document 39-1 Filed 02/15/24 Page 50 of 50




                                                                    Page 45
